                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )    No. 2:19-cv-00009
       v.                                            )    JUDGE TRAUGER
                                                     )
OAKLEY PHARMACY, INC., d/b/a                         )
DALE HOLLOW PHARMACY, et al.                         )    JURY DEMAND
                                                     )
               Defendants.                           )



  UNITED STATES’ WITNESS LIST FOR PRELIMINARY INJUNCTION HEARING

       The United States of America, pursuant to the Order of the Court of February 21, 2019,

hereby submits its list of witnesses it may call at the hearing on its motion for a preliminary

injunction, currently set for March 27, 2019:

   1. Carl Gainor, Ph.D., J.D.

   2. Randy D’Antoni

   3. Samantha Rogers

   4. John Polston

   5. Thomas Weir

   6. Any witnesses identified on any Defendant’s witness list.



                                                Respectfully submitted,

For the United States:                          DONALD Q. COCHRAN
                                                UNITED STATES ATTORNEY
                                                Middle District of Tennessee




    Case 2:19-cv-00009 Document 54 Filed 03/18/19 Page 1 of 3 PageID #: 272
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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served on the parties below via

the U.S. District Court’s ECF system, if registered.   A service copy was also served via First Class

U.S. Mail, postage prepaid, and/or via email, on March 18, 2019, to the following:


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                                     2
    Case 2:19-cv-00009 Document 54 Filed 03/18/19 Page 2 of 3 PageID #: 273
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                                    s/ Ross S. Goldstein
                                    ROSS S. GOLDSTEIN
                                    Trial Attorney, U.S. Department of Justice




                                 3
Case 2:19-cv-00009 Document 54 Filed 03/18/19 Page 3 of 3 PageID #: 274
